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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

     v.
                                           Criminal No. 21-399 (RDM)
ROMAN STERLINGOV,

           Defendant.



                PRELIMINARY JURY INSTRUCTIONS
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                        PRELIMINARY INSTRUCTIONS

      **SWEAR IN JURY**

              PRELIMINARY INSTRUCTION BEFORE TRIAL

      Before we begin the trial, I want to explain how this trial will work and

some of the legal rules that will be important in this trial. These remarks are not

meant to be a substitute for the detailed instructions that I will give at the end of

the trial just before you start your deliberations. These preliminary instructions are

intended to give you a sense of what will be going on in the courtroom and what

your responsibilities as jurors will be.




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                           NOTETAKING BY JURORS

      When you took your seats, you probably noticed that each of you had a

notebook and pen waiting for you. That is because I permit jurors to take notes

during trial if they wish. Whether you take notes or not is entirely up to you.

Many people find that taking notes helps them remember testimony and evidence;

others find it distracts them from listening to the witnesses.

      You will be permitted to take your notebooks back with you into the jury

room during deliberations. You should remember, however, that your notes are

only an aid to your memory. They are not evidence in the case, and they should

not replace your own memory of the evidence. Those jurors who do not take notes

should rely on their own memory of the evidence and should not be influenced by

another juror’s notes.

      Other than during your deliberations, the notebooks will remain locked in

the courtroom during recesses and overnight. You will not be able to take the

notebooks with you as you come and go, and you will not be permitted to take

them home with you overnight. At the end of the trial, when you come back to the

courtroom to deliver your verdict, your notebooks will be collected, and the pages

torn out and destroyed. No one, including myself, will ever look at any notes you

have taken, so you may feel free to write whatever you wish.




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    PRELIMINARY INSTRUCTION TO JURY WHERE IDENTITY OF

                      ALTERNATES IS NOT DISCLOSED

      You have probably noticed that there are sixteen (16) of you sitting in the

jury box. Only twelve (12) of you will retire to deliberate in this matter. Before

any of you even entered the courtroom, we randomly selected the alternates’ seats.

I will not disclose who the alternate jurors are until the end of my final instructions

just before you begin your deliberations. As any seat might turn out to be an

alternate’s seat, it is important that each of you think of yourselves as regular jurors

during this trial and that all of you give this case your fullest and most serious

attention.




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    A JUROR’S RECOGNITION OF A WITNESS OR OTHER PARTY

                         CONNECTED TO THE CASE

      At the beginning of the jury selection process, you were introduced to some

witnesses by name. If, at any time during this trial, you suddenly realize that you

recognize or might know any witness, lawyer, someone who is mentioned in the

testimony or evidence, or anyone else connected with this case in any way, you

should raise your hand immediately and ask to speak with me.




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              PRELIMINARY INSTRUCTION BEFORE TRIAL

      Now let me explain briefly some of the procedures we will follow and some

of the rules of law that will be important in this case.

      The indictment contains four counts. In Count One, the indictment charges

that the defendant conspired with co-conspirators known and unknown, including

darknet vendors and darknet administrative teams, to engage in a Money

Laundering Conspiracy through a bitcoin mixer known as Bitcoin Fog. In Count

Two, the indictment charges that the defendant conducted a money laundering

transaction involving property represented to be the proceeds of unlawful activity

on November 21, 2019. In Count Three, the indictment charges that the defendant

operated an unlicensed money transmitting business, known as Bitcoin Fog, or

aided and abetted others in doing so. And in Count Four, the indictment charges

that the defendant, through the operation of Bitcoin Fog, engaged in the business of

money transmission without a license in the District of Columbia.

      You should understand clearly that the indictment that I just summarized is

not evidence. The indictment is just a formal way of charging a person with a

crime in order to bring him to trial. You must not think of the indictment as any

evidence of the guilt of the defendant or draw any conclusion about the guilt of the

defendant just because he has been indicted. At the end of the trial, you will have




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to decide whether the evidence presented has convinced you beyond a reasonable

doubt that the defendant committed the offenses with which he has been charged.

      As I have explained, Mr. Sterlingov is charged with four counts. Each count

of the indictment charges a separate offense. You should consider each offense,

and the evidence which applies to it, separately, and you should return separate

verdicts as to each count. The fact that you may find the defendant guilty or not

guilty on any one count of the indictment should not influence your verdict with

respect to any other count of the indictment.

      I will provide more detailed instructions at the end of the case and will only

briefly describe the elements of the four counts now.

      In Count One, Mr. Sterlingov is charged with money laundering conspiracy.

There are two elements to this charge, each of which the government must prove

beyond a reasonable doubt. First, the government must prove that a conspiracy

existed. A conspiracy exists when two or more people agree to commit an offense.

A conspiracy does not require a formal agreement or a plan, in which every detail

is worked out, but the members of the conspiracy must have a common

understanding to commit at least one of the alleged crimes, which are known as the

objects of the conspiracy. Second, the government must prove that the defendant

intentionally joined in that agreement.

      Here, the indictment alleges two objects of the conspiracy:


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      The first alleged object of the conspiracy is laundering of monetary

instruments in violation of 18 U.S.C. § 1956(a)(1)(A)(i). A person violates §

1956(a)(1)(A)(i) when: (1) knowing that the property involved in a financial

transaction represents the proceeds of some form of unlawful activity, (2) he

conducts or attempts to conduct that financial transaction, and the transaction both

affects interstate or foreign commerce and, in fact, involves the proceeds of the

unlawful activity, and (3) he does so with the intent to promote the carrying on of

the unlawful activity. The indictment alleges that the unlawful activity at issue

was the illegal manufacture, importation, receiving, concealment, buying, selling

or otherwise dealing in a controlled substance.

      The second alleged object of the conspiracy is laundering a monetary

instrument in violation of 18 U.S.C. § 1956(a)(1)(B)(i). A person violates §

1956(a)(1)(B)(i) when: (1) knowing that the property involved in a financial

transaction represents the proceeds of some form of unlawful activity, (2) he

conducts or attempts to conduct that financial transaction, and the transaction both

affects interstate or foreign commerce and, in fact, involves the proceeds of the

unlawful activity, and (3) he knows that the transaction is designed in whole or in

part to conceal or disguise the nature, the location, the source, the ownership, or

the control of the proceeds of the unlawful activity. With respect to this object of

the conspiracy, the indictment also alleges that the unlawful activity at issue was


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the illegal manufacture, importation, receiving, concealment, buying, selling or

otherwise dealing in a controlled substance.

      In Count Two, the defendant is charged with money laundering, in violation

of 18 U.S.C. § 1956(a)(3)(A) and (B). That charge contains three elements, each

of which the government must prove beyond a reasonable doubt. First, the

government must prove that the defendant knowingly conducted or tried to conduct

a financial transaction that affected interstate or foreign commerce. Second, it

must prove that the transaction involved property represented by a law

enforcement officer to be the proceeds of some form of unlawful activity. Third, it

must prove that the defendant acted with the intent to promote the carrying on of

specified unlawful activity or with the intent to conceal or disguise the nature,

location, source, ownership, or control of the property he believed to be the

proceeds of specified unlawful activity. The indictment alleges that the unlawful

activity at issue was the illegal manufacture, importation, receiving, concealment,

buying, selling, or otherwise dealing in a controlled substance.

      In Count Three, the defendant is charged with Operating an Unlicensed

Money Transmitting Business from on or about October 27, 2011 through on or

about April 27, 2021 in violation of 18 U.S.C. § 1960. That charge contains three

elements, each of which the government must prove beyond a reasonable doubt.

First, the government must prove that Bitcoin Fog was an unlicensed money


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transmitting business. I will explain what an unlicensed money transmitting

business is in a moment. Second, it must prove that the defendant knowingly

controlled, conducted, managed, supervised, directed, or owned that business. The

government is not required to prove that the defendant did all of the things in this

list, but only that he did one of them. Third, the government must prove that the

money transmitting business affected interstate or foreign commerce.

       An “unlicensed money transmitting business” means a money transmitting

business that (a) is operated without an appropriate money transmitting license in

the District of Columbia, where such operation is punishable as a misdemeanor or

felony under District of Columbia law, whether or not the defendant knew a

license was required or was punishable by District of Columbia law, (b) fails to

comply with the money transmitting business registration requirements under

certain federal laws, which I will instruct you about in greater detail at the end of

the case, or (3) otherwise involves the transportation or transmission of funds that

are known by the defendant to have been derived from a criminal offense or were

intended to be used to promote or support unlawful activity. A money transacting

business is “unlicensed” for purposes of § 1960 if any one of these conditions is

satisfied.

       Finally, in Count Four, the defendant is charged with Money Transmission

Without a License from on or about October 27, 2011 through on or about April


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27, 2021 in violation of D.C. Code § 26-1023(c). There are two elements to this

charge, each of which the government must prove beyond a reasonable doubt.

First, the government must prove that the defendant was engaged in the business of

money transmission in the District of Columbia. And, second, it must prove that

the defendant did not have a license issued by the District of Columbia to engage

in that business.

      Every defendant in a criminal case is presumed to be innocent. This

presumption of innocence remains with the defendant throughout the trial unless

and until he or she is proven guilty beyond a reasonable doubt. The burden is on

the government to prove the defendant guilty beyond a reasonable doubt and that

burden of proof never shifts throughout the trial. The law does not require a

defendant to prove his or her innocence or to produce any evidence. If you find

that the government has proven beyond a reasonable doubt every element of the

offense with which the defendant is charged, it is your duty to find him guilty of

that offense. On the other hand, if you find that the government has failed to prove

any element of the offense beyond a reasonable doubt, you must find the defendant

not guilty of that offense.

      As I explain how the trial will proceed, I will refer to the “government” and

to the “defense” or the “defendant.” When I mention the “government,” I am

referring to Assistant United States Attorney Christopher Brown and Department


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of Justice Trial Attorneys Catherine Alden Pelker and Jeffrey Pearlman. When I

mention the “defendant” or “defense,” I am referring either to the defendant, Mr.

Roman Sterlingov, or his attorneys, Mr. Tor Ekeland, Mr. Michael Hassard, and

Mr. Tauseef Ahmed.

      As the first step in this trial, counsel for the government and counsel for the

defendant will have an opportunity to make opening statements. Counsel for the

defendant may make an opening statement immediately after the government’s

opening statement or the defense may wait until the beginning of its case, or may

choose not to make an opening statement at all. You should understand that the

opening statements are not evidence. They are only intended to help you

understand the evidence that the lawyers expect will be introduced.

      After the opening statement or statements, the government will put on what

is called its case-in-chief. This means that the government will call witnesses to

the witness stand and ask them questions. This is called direct examination. When

the government is finished, the defense may ask questions. This is called cross-

examination. When the defense is finished, the government may conduct a brief

re-direct examination. After the government presents its evidence, the defendant

may present evidence but is not required to do so. The law does not require a

defendant to prove his or her innocence or to produce any evidence. If the defense

does put on evidence, the defense will call witnesses to the stand and ask questions


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on direct examination, the government will cross-examine, and the defense may

conduct a brief re-direct examination. When the defense is finished, the

government may offer a rebuttal case, which would operate along the same lines as

its case-in-chief.

      After all the evidence is presented, counsel for the government and counsel

for the defendant will have an opportunity to make a closing argument in support

of its case. The lawyers’ closing arguments, just like their opening statements, are

not evidence in this case. They are only intended to help you understand the

evidence.

      Finally, after both sides have finished closing arguments, I will tell you in

detail about the rules of law that you must follow when you consider what your

verdict shall be. Your verdict must be unanimous; that is, all twelve jurors must

agree on the verdict.

      I want briefly to describe my responsibilities as the judge and your

responsibilities as the jury. My responsibility is to conduct this trial in an orderly,

fair, and efficient manner, to rule on legal questions that come up in the course of

the trial, and to instruct you about the law that applies to this case. It is your sworn

duty as jurors to accept and apply the law as I state it to you.

      Your responsibility as jurors is to determine the facts in the case. You—and

only you—are the judges of the facts. You alone determine the weight, the effect,


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and the value of the evidence, as well as the credibility or believability of the

witnesses. You must consider and weigh the testimony of all witnesses who

appear before you. You alone must decide the extent to which you believe any

witness.

      You must pay very careful attention to the testimony of all of the witnesses

because you will not have any transcripts or summaries of the testimony available

to you during your deliberations. You will have to rely entirely on your memory

and your notes if you choose to take any.

      As human beings, we all have personal likes and dislikes, opinions,

prejudices, and biases. Generally, we are aware of these things, but you also

should consider the possibility that you have implicit biases, that is, biases of

which you may not be consciously aware. Personal prejudices, preferences, or

biases have no place in a courtroom, where the goal is to arrive at a just and

impartial verdict. All people deserve fair treatment in the legal system regardless

of race, national or ethnic origin, religion, age, disability, sex, gender identity or

expression, sexual orientation, education, income level, or any other personal

characteristic. You should determine the facts solely from a fair consideration of

the evidence.

      During this trial, I may rule on motions and objections by the lawyers, make

comments to lawyers, question the witnesses, and instruct you on the law. You


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should not take any of my statements or actions as any indication of my opinion

about how you should decide the facts. If you think that somehow I have

expressed or even hinted at any opinion as to the facts in this case, you should

disregard it. The verdict in this case is your sole and exclusive responsibility.

      You may consider only the evidence properly admitted in this case. That

evidence includes the sworn testimony of witnesses and the exhibits admitted into

evidence. Sometimes a lawyer’s question suggests the existence of a fact, but the

lawyer’s question alone is not evidence. If the evidence includes anything other

than testimony and exhibits, I will instruct you about these other types of evidence

when they are admitted during the trial.

      During the trial, if the court or a lawyer makes a statement or asks a question

that refers to evidence that you remember differently, you should rely on your

memory of the evidence during your deliberations.

      The lawyers may object when the other side asks a question, makes an

argument, or offers evidence that the objecting lawyer believes is not properly

admissible. I will respond by saying either “sustained” or “overruled.” If I sustain

an objection to a question asked by a lawyer, the question must be withdrawn, and

you must not guess or speculate what the answer to the question would have been.

If a question is asked and answered, and I then rule that the answer should be

stricken from the record, you must disregard both the question and the answer in


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your deliberations. You should follow this same rule if any of the exhibits are

stricken. If I overrule an objection, the question may stand and the witness may

answer it. You must not hold such objections against the lawyer who makes them

or the party that he or she represents. It is the lawyers’ responsibility to object to

evidence that they believe is not admissible.

      You are not permitted to discuss this case with anyone until this case is

submitted to you for your decision at the end of my final instructions. This means

that, until the case is submitted to you, you may not talk about it even with your

fellow jurors. This is because we don’t want you making decisions until you’ve

heard all the evidence and the instructions of law. In addition, you may not talk

about the case with anyone else. In this age of electronic communication, I want to

stress that you must not use electronic devices or computers to talk about this case,

including tweeting, texting, blogging, e-mailing, posting information on a website

or chat room, or any other means at all. Do not send or accept messages, including

email and text messages, about your jury service. You must not disclose your

thoughts about your jury service or ask for advice on how to decide the case. This

is because you must decide the case based on what happens here in the courtroom,

not on what someone may or may not tell you outside the courtroom. People will

undoubtedly ask what kind of case you’re sitting in on. You may tell them it is a

criminal case, but nothing else. Now, when the case is completely over, you may


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discuss any part of it with anyone you wish, but until then, you may not do so.

       Although it is a natural human tendency to talk with people with whom you

may come into contact, you must not talk to any of the parties, their attorneys, or

any witnesses in this case during the time you serve on this jury. If you encounter

anyone connected with the case outside the courtroom, you should avoid having

any conversation with them, overhearing their conversation, or having any contact

with them at all. For example, if you find yourself in a courthouse corridor,

elevator, or any other location where the case is being discussed by attorneys,

parties, witnesses, or anyone else, you should immediately leave the area to avoid

hearing such discussions. If you do overhear a discussion about the case, you

should report that to me as soon as you can. Finally, if you see any of the attorneys

or witnesses involved in the case and they turn and walk away from you, they are

not being rude; they are merely following the same instruction that I gave to them.

       It is very unlikely, but if someone tries to talk to you about the case, you

should refuse to do so and immediately let me know by telling the Deputy Clerk or

the marshal. Don’t tell the other jurors; just let me know, and I’ll bring you in to

discuss it.

       Between now and when you are discharged from jury duty, you must not

provide to or receive from anyone, including friends, co-workers, and family

members, any information about your jury service. You may tell those who need


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to know where you are, that you have been chosen for a jury in a criminal case, and

how long the case may take. You may not, however, give anyone any information

about the case itself or the people involved in the case. You must also warn people

not to try to say anything to you or write to you about your jury service or the case.

This includes face-to-face, phone, or computer communications.

      Because you must decide this case based only on what occurs in the

courtroom, you may not conduct any independent investigation of the law or the

facts in the case. That used to mean that you could not conduct any research in

books or newspapers or visit the scene of the alleged offense. In this electronic

age, it also means you cannot conduct any other kind of research—for example,

researching any issue on the internet, asking any questions of anyone via email or

text, or otherwise communicating about or investigating the facts or law connected

to the case.

      I want to explain a bit further why there is a ban on internet communications

and research concerning the case. Unfortunately, courts around the country have

occasionally experienced problems with jurors ignoring this rule, sometimes

resulting in costly retrials. Generally speaking, these jurors have not sought to

corrupt the process; rather, they have been seeking additional information to aid

them in what is undoubtedly a heavy and solemn responsibility. Nonetheless, there

are good reasons for this rule.


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      In the first place, obviously, not everything one sees online is true. This

includes not only information from persons responding to whatever postings you

may make about the case, but it also can include information from established

websites. For example, a mapping site might not reflect the way a location

appeared at the times that are at issue in a case. Furthermore, even items that are

technically true can change their meaning and significance based upon context.

      In addition, both sides are entitled to have the chance not only to dispute or

to rebut evidence presented by the other side, but also to argue to you how that

evidence should be considered within the factual and legal confines of the case.

Any secret communications or research by you robs them of those opportunities

and can distort the process, sometimes with negative results. It is for those

reasons, that I instruct you that you should not use the internet to communicate

about the case or do any research about the case.

      In some cases, there may be reports in the newspaper or on the radio,

Internet, or television concerning the case while the trial is ongoing. If there

should be such media coverage in this case, you may be tempted to read, listen to,

or watch it. You must not read, listen to, or watch such reports because you must

decide this case solely on the evidence presented in this courtroom. If any

publicity about this trial inadvertently comes to your attention during trial, do not

discuss it with other jurors or anyone else. Just let me or my clerk know as soon


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after it happens as you can, and I will then briefly discuss it with you.

      After I submit the case to you, you may discuss it only when I instruct you to

do so, and only in the jury room and only in the presence of all of your fellow

jurors. It is important that you keep an open mind and not decide any issue in the

case until after I submit the entire case to you with my final instructions.

      Finally, we have a fine court reporter here taking down testimony, but you

will not have a transcript with you during deliberations. You must rely on your

memory and, if you take them, your notes as an aid to that memory. So, I ask you

to pay close attention.

      We will begin with the opening statement by the government.




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